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B2030 (Form 2030) (12/15)

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United States Bankruptcy Court
Southern District of Florida

Inte Monica Palmer Case No. 22-13936-RAM

 

Debtor(s) Chapter 13

 

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)

|. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that | am the attorney for the above named debtor(s) and that
compensation paid to mc within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

 

 

For legal services, I have agreed to accept $ 0.00
Prior to the filing of this statement I have received $ 0.00
Balance Due $ 9.00

 

2. The source of the compensation paid to me was:

B Debtor C1) Other (specify):
3. The source of compensation to be paid to me is:
® Debtor O1 Other (specify):
4. Ml Ihave not agreed to share the above-disclosed compensation with any other person unless they arc members and associates of my law firm.

( [have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5. In return for the above-disclosed fee, I have agreed to render Jegal service for all aspects of the bankruptcy case, including:

a. [Other provisions as needed]

6. By agreement with the debtor(s), the above-disclosed fee does not include the following service:

 

CERTIFICATION

I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

 

 

June 15, 2022 /s/ Christina Scott
Date Christina Scott
Signature of Attorney

Legal Services of Greater Miami, Inc.
4343 W. Flagler St., Ste. 700

Miami, FL 33134

(305) 438-2553
cscott@legalservicesmiami.org
Name of law firm

 

 

 

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